Case: 1:14-Cv-O7780 Document #: 12 Filed: 10/17/14 Page 1 of 28 Page|D #:70

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

VERONICA COOK, as Independent
Administrator of the Estate of LONTRELL
MONTLEY, Deceased,

Plaintiff’ No. 14 cv 7780

Vel`SllS

MOUNT SINAI HOSPITAL MEDICAL
CENTER OF CHICAGO, an Illinois Not-For-
Profit Corporation, NATASHA GUPTA, MD,
SARIKA ARORA, MD, ALLA BODNER, MD,
and UNITED STATES OF AMERICA,

Defendants.

 

 

FIRST AMENDED COMPLAINT AT LAW

The Plaintiff, VERONICA COOK, as Independent Administrator of the Estate of
LONTRELL MONTLEY, Deceased, by her attorneys, LEVIN & PERCONTI, complains
against the Defendants, MOUNT SINAI HOSPITAL MEDICAL CENTER OF CHICAGO,
an Illinois Not-For-Profit Corporation, NATASHA GUPTA, MD, SARIKA ARORA, MD,
ALLA BODNER, MD, and UNITED STATES OF AMERICA, and in support thereof states
as follows:

PROCEDURAL HISTORY

The Plaintiff, VERONICA COOK, as Independent Administrator of the Estate of
LONTRELL MONTLEY, Deceased, by her attorneys, LEVIN & PERCONTI, complains
against the Defendants, MOUNT SINAI HOSPITAL MEDICAL CENTER OF CHICAGO,
an Illinois Not-For-Profit Corporation, NATASHA GUPTA, MD, SARIKA ARORA, MD,
and ALLA BODNER, MD, and in support thereof states as follows:

1. The Plaintiff, VERONICA COOK is the Independent Administrator of the

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Estate of LONTRELL MONTLEY, Deceased. (See Order of appointment attached as Exhibit
A).

2. On December 13, 2013, the Plaintiff, VERONICA COOK, as Independent
Administrator of the Estate of LONTRELL MONTLEY, Deceased, filed a lawsuit in the
Circuit Court of Cook County, Illinois, against Det`endants, MOUNT SINAI HOSPITAL
MEDICAL CENTER OF CHICAGO, an Illinois Not-For-Profit Corporation, LEO
BOLER, MD, ACCESS COMMUNITY HEALTH NETWORK, an Illinois Not-For-Profit
Corporation d/b/a ACCESS MADISON FAMILY HEALTH CENTER (hereinafter
“ACCESS COMMUNITY HEALTH NETWORK”), MEENAKSHI GUPTA, MD,
SARIKA ARORA, MD, and ALLA BODNER, MD, alleging medical malpractice

3. On January 6, 2014, Cook County Circuit Court Judge John H. Ehrlich, granted
Plaintiff leave to tile her First Amended Cornplaint at Law naming NATASHA GUPTA, MD,
as a party Defendant and voluntarily dismissing Defendant, MEENKASHI GUPTA, MD
Without prejudice and with leave to refile within one (l) year.

4. On January 6, 2014, Plaintiff filed her First Amended Complaint at Law.

5. On March 24, 2014, UNITED STATES OF AMERICA, by its attorney,
Zachary T. Fardon, United States Attorney for the Northern District of Illinois, filed a Notice of
Removal of a Civil Action from the Circuit Court of Cook County, Illinois, to the United States
District Court for the Northem District of Illinois, and Substitution of the United States as
Defendant pursuant to the F ederal Torts Claims Act (“FTCA”), 28 U.S.C. § 2679, and 42 U.S.C.
§ 233. In support, UNITED STATES OF AMERICA stated “for purposes of this lawsuit,
ACCESS COMMUNITY HEALTH NETWORK is a private entity that receives grant money
from the Public Health Service pursuant to 42 U.S.C. § 233 and that LEO BOLER, MD, was

acting within the scope of his employment at ACCESS COMMUNITY HEALTH

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NETWORK With respect to the incidents referred to in the Complain .” (See United States of
America Notice of Removal attached as Exhibit B).

6. On March 28, 2014, this case was removed from the Circuit Court of Cook
County, lllinois, to the United States District Court for the Northern District of Illinois and
UNITED STATES OF AMERICA was substituted as the Federal Defendant in place of
Defendants ACCESS COMMUNITY HEALTH NETWORK and LEO BOLER, MD.

7. On or about March 28, 2014, UNITED STATES OF AMERICA, filed a Motion
to Dismiss Plaintiff’s First Amended Complaint at Law pursuant to Federal Rules of Civil
Procedure 12(b)(l) and 12(b)(6) for failure to exhaust administrative remedies. (See United
States of America Motion to Dismiss attached as Exhibit C).

8. On April l, 2014, all parties appeared before the Honorable Edmond E. Chang on
UNITED STATES OF AMERICA’s Motion to Dismiss Plaintist First Amended Complaint
at Law for lack of jurisdiction This Court granted UNITED STATES OF AMERICA’s Motion
to Dismiss without prejudice in light of Plaintist failure to exhaust. Per this Court’s Order, “to
effectuate a stay as to the non-United States Defendants, and to effectuate direct assignment
to this District Judge after exhaustion of administrative remedies” the Court granted UNITED
STATES OF AMERICA’s Motion and dismissed Plaintiff’s First Amended Complaint
“without prejudice With full leave to reinstate.” Per this Court’s Order, “as discussed during the
hearing, the plan is that, as requested by the FTCA, after exhaustion, Plaintiff Will file a new case
in this District, and designate it as a previously dismissed case.” (See Court Order from April 1,
2014 attached as Exhibit D).

9. On or about April 3, 2014, Plaintiff filed and sent by certified mail an

Administrative claim for damage, injury, or death to the United Stated Department of Health and

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Human Services. (See Administrative Claim for Damage, Injury, or Death and Certified Mail
Receipt acknowledging receipt on April 7, 2014 attached as Exhibit E).

10. To date, the appropriate federal agency has failed to issue a final decision within
the six months of the date that the claim was presented

COUNT I
(Cook v. Mount Sinai Hospital Medical Center of Chicago - Survival Action)

The Plaintiff, VERONICA COOK, as Independent Administrator of the Estate of
LONTRELL MONTLEY, Deceased, by her attorneys, LEVIN & PERCONTI, complains
against the Defendant, MOUNT SINAI HOSPITAL MEDICAL CENTER OF CHICAGO,
an Illinois Not-For-Profit Corporation, and in support thereof states as follows:

1-10. The Plaintiff re-alleges paragraphs 1 - 10 of this Complaint as and for paragraphs
1 ~ 10 ofthis Count I.

11. The Plaintiff`, VERONICA COOK, as Independent Administrator of the
Estate of LONTRELL MONTLEY, Deceased, brings this action pursuant to the provisions of
755 ILCS 5/27-6 known as the Illinois Survival Statute.

12. LONTRELL MONTLEY (“LONTRELL”) was born on March 28, 2011.

13. LONTRELL died on September 28, 2012.

14. VERONICA COOK (“VERONICA”) is the mother of LONTRELL,
Deceased.

15. At all times relevant to this Complaint, the Def`endant, MOUNT SINAI
HOSPITAL MEDICAL CENTER OF CHICAGO, an Illinois Not-For-Profit Corporation,
owned, operated, maintained, managed and controlled a medical facility commonly known as
MOUNT SINAI HOSPITAL MEDICAL CENTER OF CHICAGO, located at 2750 West
15th Street in Chicago, Illinois and held itself out to the community for, among other things, its

commitment to delivery of quality, community-focused healthcare.

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16. At all times relevant to this Complaint, the Defendant, MOUNT SINAI
HOSPITAL MEDICAL CENTER OF CHICAGO, an Illinois Not-For-Profit Corporation
held itself out to the public, through its actual, implied and/or apparent agents, servants and
employees, including physicians, nurses and/or other healthcare professionals, and, in particular
to VERONICA, as possessing the requisite professional skill, expertise, knowledge, facilities,
personnel and information to provide appropriate medical services required by a patient, and in
particular, to VERONICA.

17. At all times relevant to this Complaint, the Defendant, MOUNT SINAI
HOSPITAL MEDICAL CENTER OF CHICAGO, an Illinois Not-For-Profit Corporation
provided rooms, laboratories, technicians, nursing services, physicians, and x-ray services for
patients including VERONICA.

18. On or about March 28, 2011, VERONICA was admitted to MOUNT SINAI
HOSPITAL MEDICAL CENTER OF CHICAGO with a medical history including, but not
limited to, five previous Caesarian Sections.

19. On or about March 28, 2011, VERONICA came under the care of Defendant,
MOUNT SINAI HOSPITAL MEDICAL CENTER OF CHICAGO, an Illinois Not-For-
Profit Corporation, during the labor and delivery of her son, LONTRELL.

20. At all times relevant to this Complaint, VERONICA entrusted the course of her
labor and delivery to the Defendant, MOUNT SINAI HOSPITAL MEDICAL CENTER OF
CHICAGO, an Illinois Not~For-Profit Corporation.

21. At all times relevant to this Complaint, VERONICA did not have the medical

knowledge or expertise to determine the course of her care and treatment and her labor and

delivery.

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22. While patients at MOUNT SINAI HOSPITAL MEDICAL CENTER OF
CHICAGO, VERONICA and LONTRELL neither knew nor should have known which of the
duly licensed physicians, nurses, and other healthcare professionals who provided them with
care, treatment and supervision at MOUNT SINAI HOSPITAL MEDICAL CENTER OF
CHICAGO were actually employees of MOUNT SINAI HOSPITAL MEDICAL CENTER
OF CHICAGO.

23. While patients at MOUNT SINAI HOSPITAL MEDICAL CENTER OF
CHICAGO, VERONICA and LONTRELL did not choose which physicians, nurses and other
healthcare professionals provided them with care, treatment and supervision, but instead relied
upon MOUNT SINAI HOSPITAL MEDICAL CENTER OF CHICAGO to provide them
with appropriate emergency room care, treatment and supervision

24. At all times relevant to this Complaint, Defendants, NATASHA GUPTA, MD,
SARIKA ARORA, MD, and ALLA BODNER, MD, were physicians, duly licensed by the
State of Illinois to practice medicine in all of its branches

25. At all times relevant to this Complaint, NATASHA GUPTA, MD, was an actual,
implied and/or apparent agent, servant and employee of Defendant, MOUNT SINAI
HOSPITAL MEDICAL CENTER OF CHICAGO, an Illinois Not-For-Profit Corporation,
and as such, Defendant, MOUNT SINAI HOSPITAL MEDICAL CENTER OF CHICAGO,
an Illinois Not-For-Profit Corporation, is vicariously liable for the negligent acts of
NATASHA GUPTA, MD.

26. At all times relevant to this Complaint, SARIKA ARORA, MD, was an actual,
implied and/or apparent agent, servant and employee of Defendant, MOUNT SINAI
HOSPITAL MEDICAL CENTER OF CHICAGO, an Illinois Not-For-Profit Corporation,

and as such, Defendant, MOUNT SINAI HOSPITAL MEDICAL CENTER OF CHICAGO,

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an Illinois Not-For-Prof`it Corporation, is vicariously liable for the negligent acts of SARIKA
ARORA, MD.

27. At all times relevant to this Complaint, ALLA BODNER, MD, was an actual,
implied and/or apparent agent, servant and employee of Defendant, MOUNT SINAI
HOSPITAL MEDICAL CENTER OF CHICAGO, an Illinois Not-For-Prof'it Corporation,
and as such, Defendant, MOUNT SINAI HOSPITAL MEDICAL CENTER OF CHICAGO,
an Illinois Not-For-Profit Corporation, is vicariously liable for the negligent acts of ALLA
BODNER, MD.

28. At all times relevant to this Complaint, it became and was the duty of Defendant,
MOUNT SINAI HOSPITAL MEDICAL CENTER OF CHICAGO, an Illinois Not-For-
Profit Corporation, through its actual, implied and/or apparent agents, servants and employees,
including physicians, nurses and/or other healthcare professionals including, but not limited to,
NATASHA GUPTA, MD, SARIKA ARORA, MD, and ALLA BODNER, MD, to possess
and apply the knowledge and use the skill and care ordinarily used by a reasonably careful
physician, nurse, hospital and/or other healthcare professionals in the examination, diagnosis and
treatment of VERONICA and LONTRELL,

29. The Defendant, MOUNT SINAI HOSPITAL MEDICAL CENTER OF
CHICAGO, an Illinois Not-For-Prot'lt Corporation, through its actual, implied and/or
apparent agents, servants and employees, including physicians, nurses and/or other healthcare
professionals, breached its duty to exercise reasonable care and was negligent as a result of one
or more of the following negligent acts or omissions:

a. The nursing staff and resident physicians failed to appropriately and

timely evaluate VERONICA’s pain upon presentation to the labor and
delivery area on March 28, 2011;

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b. The nursing staff and resident physicians failed to appreciate the
significance of VERONICA’s pain in light of her being full-term with a
previous history of five cesarean sections;

c. The nursing staff and resident physicians failed to adequately investigate
the source of VERONICA’s abdominal pain;

d. The resident physicians failed to appropriately and timely diagnose
VERONICA’s uterine rupture;

e. The nursing staff failed to timely and accurately report VERONICA’s
severe abdominal pain to the residents;

f. The resident physicians failed to ensure proper continuous fetal
monitoring on VERONICA:

g. The hospital failed to maintain working equipment in the labor and
delivery of LONTRELL including, but not limited to an ultrasound
machine; and

h. Residents failed to timely initiate, perform, or recommend to the attending
physicians an emergency cesarean section on VERONICA when they
knew or should have known it was necessary in part due to the patient’s
history and the ongoing fetal distress as evidence by persistent
decelerations and fetal bradycardia.

30. As a direct and proximate result of one or more of the Defendant, MOUNT
SINAI HOSPITAL MEDICAL CENTER OF CHICAGO, an Illinois Not-For-Profit
Corporation’s, negligent acts or omissions, LONTRELL suffered injuries including, but not
limited to, a poor quality of life, a deterioration of his overall physical, mental and psychosocial
well-being, and a hypoxic ischemic brain injury resulting in multiple medical complications
including, but not limited to, seizures, acute respiratory failure, ventilator dependence, the
placement of a permanent tracheostomy, gastrostomy tube, multiple infections, all of which
necessitated extensive hospitalizations and caused or contributed to causing his death.

31. As a direct and proximate result of one or more of the Defendant’s, MOUNT

SINAI HOSPITAL MEDICAL CENTER OF CHICAGO, an Illinois Not-For-Profit

Corporation, negligent acts or omissions, LONTRELL suffered injuries of a personal and

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pecuniary nature, past, and present, including, but not limited to, hospital, medical and related
expenses, disability and disfigurement, pain and suffering and physical and emotional trauma
and a decline in LONTRELL’s level of dignity, self-respect and individuality, and
LONTRELL Would have been entitled to receive compensation from Defendant, MOUNT
SINAI HOSPITAL MEDICAL CENTER OF CHICAGO, an Illinois Not-For-Profit
Corporation for these injuries, had he survived. Further, LONTRELL’s estate was diminished
by virtue of the medical and hospital expenses incurred.

32. Attached to this Complaint as “Exhibit F” is the Affidavit of the Attorney in this
cause filed pursuant to 735 ILCS 5/2-622(a)(l).

33. Attached to this Complaint as “Exhibit G” is the Health Professional’s Report,
filed pursuant to 735 ILCS 5/2~622(a)(1).

WHEREFORE, the Plaintiff, VERONICA COOK, as Independent Administrator of
the Estate of LONTRELL MONTLEY, Deceased, asks that a judgment be entered against
Defendant, MOUNT SINAI HOSPITAL MEDICAL CENTER OF CHICAGO, an Illinois
Not-For-Profit Corporation, in the amount of FIFTEEN MILLION DOLLARS
($15,000,000).

COUNT II
(Cook v. Mount Sinai Hospital Medical Center of Chicago - Wrongful Death Action)

The Plaintiff, VERONICA COOK, as Independent Administrator of the Estate of
LONTRELL MONTLEY, Deceased, by her attomeys, LEVIN & PERCONTI, complains
against the Defendant, MOUNT SINAI HOSPITAL MEDICAL CENTER OF CHICAGO,
an Illinois Not-For-Profit Corporation, and in support thereof states as follows:

1-10. The Plaintiff re~alleges paragraphs 1 - 10 of this Complaint as and f`or paragraphs
l - 10 ofthis Count II.

ll. The Plaintiff, VERONICA COOK, as Independent Administrator of the
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Estate of LONTRELL MONTLEY, Deceased, brings this action pursuant to the provisions of
740 ILCS 180/1, et seq. , commonly known the Wrongful Death Act of the State of lllinois.
12-30. The Plaintiff re-alleges paragraphs 12 - 30 of Count I of this Complaint as and for
paragraphs 12 ~ 30 of this Count Il.
31. LONTRELL left surviving him various person who Were his next of kin
including, but not limited to, the following individuals:
VERONICA COOK;
Tyshawn Cook;
Lonnie Lee Montley;
Lonnell Montley;

LaDarius Montley; and
Lunhyia Montley.

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32. All of LONTRELL’s next of kin suffered injuries as a result of his death,
including the loss of companionship and society and grief, sorrow and mental anguish Further,
LONTRELL’s estate was diminished by virtue of the medical, hospital and funeral expenses
that were incurred.

33. Attached to this Complaint as “Exhibit F” is the Affidavit of the Attorney in this
cause filed pursuant to 735 ILCS 5/2-622(a)(l).

34. Attached to this Complaint as “Exhibit G” is the Health Professional’s Report,
med pursuant to 735 ILcs' 5/2-622(3)(1).

WHEREFORE, the Plaintiff, VERONICA COOK, as Independent Administrator of
the Estate of LONTRELL MONTLEY, Deceased, asks that a judgment be entered against
Defendant, MOUNT SINAI HOSPITAL MEDICAL CENTER OF CHICAGO, an Illinois
Not-For-Profit Corporation, in the amount of TEN MILLION DOLLARS (Sl0,000,000).

COUNT III
(Cook v. Natasha Gupta, MD - Survival Action)

The Plaintiff`, VERONICA COOK, as Independent Administrator of the Estate of

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LONTRELL MONTLEY, Deceased, by her attomeys, LEVIN & PERCONTI, complains
against the Defendant, NATASHA GUPTA, MD, and in support thereof states as follows:

1-10. The Plaintiff re-alleges paragraphs l - 10 of this Complaint as and for paragraphs
1 - 10 of this Count III.

11. The Plaintiff, VERONICA COOK, as Independent Administrator of the
Estate of LONTRELL MONTLEY, Deceased, brings this action pursuant to the provisions of
755 ILCS 5/27-6 known as the Illinois Survival Statute.

12. LONTRELL MONTLEY (“LONTRELL”) was born on March 28, 2011.

13. LONTRELL died on September 28, 2012.

14. VERONICA COOK (“VERONICA”) is the mother of LONTRELL,
Deceased.

15. At all times relevant to this Complaint, the Defendant, NATASHA GUPTA,
MD, was a physician, duly licensed by the State of Illinois to practice medicine in all of its
branches. y

16. At all times relevant to this Complaint, Defendant NATASHA GUPTA, MD,
held herself out to the public, and, in particular, to VERONICA, as possessing the requisite
professional skill, expertise, knowledge, facilities, personnel and information to provide
appropriate medical services required by a patient, and in particular, to VERONICA.

17. On or about March 28, 2011, VERONICA was admitted to MOUNT SINAI
HOSPITAL MEDICAL CENTER OF CHICAGO with a medical history including, but not
limited to, five previous Caesarian Sections.

18. On or about March 28, 2011, VERONICA came under the care of Defendant,

NATASHA GUPTA, MD, during the labor and delivery of her son, LONTRELL,

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19. At all times relevant to this Complaint, VERONICA entrusted the course of her
labor and delivery to the Defendant, NATASHA GUPTA, MD.

20. At all times relevant to this Complaint, VERONICA did not have the medical
knowledge or expertise to determine the course of care and treatment of her labor and delivery.

21. At all times relevant to this Complaint, NATASHA GUPTA, MD, Was an actual,
implied and/or apparent agent, servant and employee of Defendant, MOUNT SINAI
HOSPITAL MEDICAL CENTER OF CHICAGO, an Illinois Not-For-Profit Corporation.

22. At all times relevant to this Complaint, it was the duty of the Defendant,
NATASHA GUPTA, MD, to exercise skill and care ordinarily used by a well-qualified
physician in the examination, diagnosis, and treatment of VERONICA and LONTRELL,

23. The Defendant, NATASHA GUPTA, MD, failed to possess and apply the
knowledge and use the skill and care ordinarily used by a well-qualified physician in her care,
treatment, and supervision of VERONICA and LONTRELL, and breached her duty by one or
more of the following negligent acts or omissions:

a. Failed to appropriately evaluate VERONICA’s medical condition upon
presentation to the labor and delivery area on March 28, 201 l;

b. Failed to appropriately investigate the source of VERONICA’s abdominal
pain;

c. Failed to timely recognize signs and symptoms of and diagnose a uterine
rupture as the Source of` VERONICA’s abdominal pain when it was known
or should have been known that given her five prior Cesarean sections she
was at risk for such a complication;

d. Failed to timely and appropriately communicate changes in VERONICA’s
medical condition and persistent decelerations and fetal bradycardia in
LONTRELL to the attending physician resulting in the failure to timely
perform a Cesarean section.

24. As a direct and proximate result of one or more of the Defendant, NATASHA

GUPTA, MD’s, negligent acts or omissions, LONTRELL suffered injuries including, but not

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limited to, a poor quality of life, a deterioration of his overall physical, mental and psychosocial
well-being, and a hypoxic ischemic brain injury resulting in multiple medical complications
including, but not limited to, seizures, acute respiratory failure, ventilator dependence, the
placement of a permanent tracheostomy, gastrostomy tube, multiple infections, all of which
necessitated extensive hospitalizations and caused or contributed to causing his death.

25. As a direct and proximate result of one or more of the Defendant, NATASHA
GUPTA, MD’s, negligent acts or omissions, LONTRELL suffered injuries of a personal and
pecuniary nature, past, and present, including, but not limited to, hospital, medical and related
expenses, disability and disfigurement, pain and suffering and physical and emotional trauma
and a decline in LONTRELL’s level of dignity, self-respect and individuality, and
LONTRELL would have been entitled to receive compensation from Defendant for these
injuries, had he survived. Further, LONTRELL’s estate was diminished by virtue of the
medical and hospital expenses incurred

26. Attached to this Complaint as “Exhibit F” is the Affidavit of the Attorney in this
cause filed pursuant to 735 ILCS 5/2-622(a)(1).

27. Attached to this Complaint as “Exhibit H” is the Health Professional’s Report,
filed pursuant to 735 ILCS 5/2-622(a)(1).

WHEREFORE, the Plaintiff`, VERONICA COOK, as Independent Administrator of
the Estate of LONTRELL MONTLEY, Deceased, asks that a judgment be entered against
Defendant, NATASHA GUPTA, MD, in the amount of FIFTEEN MILLION DOLLARS
(315,000,000).

COUNT IV
(Cook v. Natasha Gupta, l\/ID - Wrongful Death Action)

The Plaintiff`, VERONICA COOK, as Independent Administrator of the Estate of
LONTRELL MONTLEY, Deceased, by her attorneys, LEVIN & PERCONTI, complains
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against the Defendant, NATASHA GUPTA, MD, and in support thereof states as follows:
1-10. The Plaintiff re-alleges paragraphs 1 - 10 of this Complaint as and for paragraphs
1 - 10 ofthis Count IV.
11. The Plaintiff, VERONICA COOK, as Independent Administrator of the
Estate of LONTRELL MONTLEY, Deceased, brings this action pursuant to the provisions of
740 ILCS 180/1, et seq., commonly known the Wrongful Death Act of the State of lllinois.
12-24. The Plaintiff re-alleges paragraphs 12 - 24 of Count III of this Complaint as and
for paragraphs 12 - 24 of this Count IV.
25. LONTRELL left surviving him various person who were his next of kin
including, but not limited to, the following individuals:
VERONICA COOK;
Tyshawn Cook;
Lonnie Lee Montley;
Lonnell Montley;

LaDarius Montley; and
Lunhyia Montley.

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26. All of LONTRELL’s next of kin suffered injuries as a result of his death,
including the loss of companionship and society and grief, sorrow and mental anguish. Further,
LONTRELL’s estate was diminished by virtue of the medical, hospital and funeral expenses
that were incurred

27. Attached to this Complaint as “Exhibit F” is the Affidavit of the Attorney in this
cause filed pursuant to 735 ILCS 5/2-622(a)(1).

28, Attached to this Complaint as “Exhibit H” is the Health Professional’s Report,
filed pursuant to 735 ILCS 5/2-622(a)(1).

WHEREFORE, the Plaintiff, VERONICA COOK, as Independent Administrator of
the Estate of LONTRELL MONTLEY, Deceased, asks that a judgment be entered against

Defendant, NATASHA GUPTA, MD, in the amount of` TEN MILLION DOLLARS

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($10,000,000).

COUNT V
(Cook v. Sarika Arora, MD - Survival Action)

The Plaintiff, VERONICA COOK, as Independent Administrator of the Estate of
LONTRELL MONTLEY, Deceased, by her attorneys, LEVIN & PERCONTI, complains
against the Defendant, SARIKA ARORA, MD, and in support thereof states as follows:

1-10. The Plaintiff re~alleges paragraphs 1 - 10 of this Complaint as and for paragraphs
1 ~ 10 of this Count V.

11. The Plaintiff`, VERONICA COOK, as Independent Administrator of the
Estate of LONTRELL MONTLEY, Deceased, brings this action pursuant to the provisions of
755 ILCS 5/27-6 known as the Illinois Survival Statute.

12. LONTRELL MONTLEY (“LONTRELL”) was born on March 28, 2011.

13. LONTRELL died on September 28, 2012.

14. VERONICA COOK (“VERONICA”) is the mother of LONTRELL,
Deceased.

15. At all times relevant to this Complaint, the Defendant, SARIKA ARORA, MD,
was a physician, duly licensed by the State of Illinois to practice medicine in all of its branches.

16. At all times relevant to this Complaint, Defendant SARIKA ARORA, MD, held
herself out to the public, and, in particular, to VERONICA, as possessing the requisite
professional skill, expertise, knowledge, facilities, personnel and information to provide
appropriate medical services required by a patient, and in particular, to VERONICA.

17. On or about March 28, 2011, VERONICA was admitted to MOUNT SINAI
HOSPITAL MEDICAL CENTER OF CHICAGO with a medical history including, but not

limited to, five previous Caesarian Sections.

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18. On or about March 28, 2011, VERONICA came under the care of Defendant,
SARIKA ARORA, MD, during the labor and delivery of her son, LONTRELL.

19. At all times relevant to this Complaint, VERONICA entrusted the course of her
labor and delivery to the Defendant, SARIKA ARORA, MD.

20. At all times relevant to this Complaint, VERONICA did not have the medical
knowledge or expertise to determine the course of care and treatment of her labor and delivery.

21. At all times relevant to this Complaint, SARIKA ARORA, MD, was an actual,
implied and/or apparent agent, servant and employee of Defendant, MOUNT SINAI
HOSPITAL MEDICAL CENTER OF CHICAGO, an Illinois Not-For-Profit Corporation.

22. At all times relevant to this Complaint, it was the duty of the Defendant,
SARIKA ARORA, MD, to exercise skill and care ordinarily used by a well-qualified physician
in the examination, diagnosis, and treatment of VERONICA and LONTRELL,

23. The Defendant, SARIKA ARORA, MD, failed to possess and apply the
knowledge and use the skill and care ordinarily used by a well-qualified physician in her care,
treatment, and supervision of VERONICA and LONTRELL, and breached her duty by one or
more of the following negligent acts or omissions:

a. Failed to appropriately evaluate VERONICA’s medical condition upon
presentation to the labor and delivery area on March 28, 2011;

b. Failed to appropriately and timely investigate the source of VERONICA’s
abdominal pain;

c. Failed to timely recognize signs and symptoms of and diagnose a uterine
rupture as the source of VERONICA’s abdominal pain when it was known
or should have been known that given her five prior Cesarean sections she
was at risk for such a complication;

d. Failed to timely and appropriately communicate changes in VERONICA’s

medical condition and persistent decelerations and fetal bradycardia in
LONTRELL to the attending physician; and

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e. Failed to timely perform a Cesarean section on VERONICA when it was
known or should have been known that one was necessary.

24. As a direct and proximate result of one or more of the Defendant, SARIKA
ARORA, MD’s, negligent acts or omissions, LONTRELL suffered injuries including, but not
limited to, a poor quality of life, a deterioration of his overall physical, mental and psychosocial
well-being, and a hypoxic ischemic brain injury resulting in multiple medical complications
including, but not limited to, seizures, acute respiratory failure, ventilator dependence, the
placement of a permanent tracheostomy, gastrostomy tube, multiple infections, all of which
necessitated extensive hospitalizations and caused or contributed to causing his death.

25. As a direct and proximate result of one or more of the Defendant, SARIKA
ARORA, MD’s, negligent acts or omissions, LONTRELL suffered injuries of a personal and
pecuniary nature, past, and present, including, but not limited to, hospital, medical and related
expenses, disability and disfigurement, pain and suffering and physical and emotional trauma
and a decline in LONTRELL’s level of dignity, self-respect and individuality, and
LONTRELL would have been entitled to receive compensation from Defendant for these
injuries, had he survived. Further, LONTRELL’s estate was diminished by virtue of the
medical and hospital expenses incurred.

26. Attached to this Complaint as “Exhibit F” is the Affidavit of the Attorney in this
cause filed pursuant to 735 ILCS 5/2-622(a)(l).

27. Attached to this Complaint as “Exhibit 1” is the Health Professional’s Report,
filed pursuant to 735 ILCS 5/2-622(a)(1).

WHEREFORE, the Plaintiff, VERONICA COOK, as Independent Administrator of
the Estate of LONTRELL MONTLEY, Deceased, asks that a judgment be entered against
Defendant, SARIKA ARORA, MD, in the amount of FIFTEEN MILLION DOLLARS
($15,000,000).

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COUNT VI
(Cook v. Sarika Arora, MD - Wrongful Death Action)

The Plaintiff, VERONICA COOK, as Independent Administrator of the Estate of
LONTRELL MONTLEY, Deceased, by her attorneys, LEVIN & PERCONTI, complains
against the Defendant, SARIKA ARORA, MD, and in support thereof states as follows:

1-10. The Plaintiff re-alleges paragraphs 1 - 10 of this Complaint as and for paragraphs
l - 10 of this Count VI.

ll. The Plaintiff, VERONICA COOK, as Independent Administrator of the
Estate of LONTRELL MONTLEY, Deceased, brings this action pursuant to the provisions of
740 ILCS 180/1, et seq., commonly known the Wrongful Death Act of the State of Illinois.

12-24. The Plaintiff re-alleges paragraphs 12 - 24 of Count V of this Complaint as and
for paragraphs 12 - 24 of this Count VI.

25. LONTRELL left surviving him various person Who were his next of kin
including, but not limited to, the following individuals:

VERONICA COOK;
Tyshawn Cook;
Lonnie Lee Montley;
Lonnell Montley;

LaDarius Montley; and
Lunhyia Montley.

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26. All of LONTRELL’s next of kin suffered injuries as a result of his death,
including the loss of companionship and society and grief, sorrow and mental anguish. Further,
LONTRELL’s estate Was diminished by virtue of the medical, hospital and funeral expenses
that were incurred.

27. Attached to this Complaint as “Exhibit F” is the Affidavit of the Attorney in this

cause filed pursuant to 735 ILCS 5/2-622(a)(1).

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28, Attached to this Complaint as “Exhibit I” is the Health Professional’s Report,
filed pursuant to 735 ILCS 5/2-622(a)(1).

WHEREFORE, the Plaintiff`, VERONICA COOK, as Independent Administrator of
the Estate of LONTRELL MONTLEY, Deceased, asks that a judgment be entered against
Defendant, SARIKA ARORA, MD, in the amount of TEN MILLION DOLLARS
($10,000,000).

COUNT VII
(Cook v. Alla Bodner, MD - Survival Action)

The Plaintiff, VERONICA COOK, as Independent Administrator of the Estate of
LONTRELL MONTLEY, Deceased, by her attomeys, LEVIN & PERCONTI, complains
against the Defendant, ALLA BODNER, MD, and in support thereof states as follows:

1-10. The Plaintiff re-alleges paragraphs 1 - 10 of this Complaint as and for paragraphs
1 - 10 of this Count VII.

11. The Plaintiff, VERONICA COOK, as Independent Administrator of the
Estate of LONTRELL MONTLEY, Deceased, brings this action pursuant to the provisions of
755 ILCS 5/27-6 known as the Illinois Survival Statute.

12. LONTRELL MONTLEY (“LONTRELL”) was born on March 28, 2011,

13. LONTRELL died on September 28, 2012.

14. VERONICA COOK (“VERONICA”) is the mother of LONTRELL,
Deceased.

15. At all times relevant to this Complaint, the Defendant, ALLA BODNER, MD,
was a physician, duly licensed by the State of Illinois to practice medicine in all of its branches.

16. At all times relevant to this Complaint, Defendant ALLA BODNER, MD, held

herself out to the public, and, in particular, to VERONICA, as possessing the requisite

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professional skill, expertise, knowledge, facilities, personnel and information to provide
appropriate medical services required by a patient, and in particular,to VERONICA.

17. On or about March 28, 2011, VERONICA was admitted to MOUNT SINAI
HOSPITAL MEDICAL CENTER OF CHICAGO with a medical history including, but not
limited to, five previous Caesarian Sections.

18. On or about March 28, 2011, VERONICA came under the care of Defendant,
ALLA BODNER, MD, during the labor and delivery of her son, LONTRELL.

19. At all times relevant to this Complaint, VERONICA entrusted the course of her
labor and delivery to the Defendant, ALLA BODNER, MD.

20. At all times relevant to this Complaint, VERONICA did not have the medical
knowledge or expertise to determine the course of care and treatment of her labor and delivery.

21. At all times relevant to this Complaint, ALLA BODNER, MD, was an actual,
implied and/or apparent agent, servant and employee of Defendant, MOUNT SINAI
HOSPITAL MEDICAL CENTER OF CHICAGO, an Illinois Not-For-Profit Corporation.

22. At all times relevant to this Complaint, it Was the duty of the Defendant, ALLA
BODNER, MD, to exercise skill and care ordinarily used by a well-qualified physician in the
examination, diagnosis, and treatment of VERONICA and LONTRELL.

23. The Defendant, ALLA BODNER, MD, failed to possess and apply the
knowledge and use the skill and care ordinarily used by a well-qualified physician in her care,
treatment, and supervision of VERONICA and LONTRELL, and breached her duty by one or l
more of the following negligent acts or omissions:

a. Failed to appropriately and timely evaluate VERONICA’s medical
condition upon presentation to the labor and delivery area on March 28,

2011;

b. Failed to appropriately and timely investigate the source of VERONICA’s
abdominal pain;

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c. Failed to timely recognize signs and symptoms of and diagnose a uterine
rupture as the source of VERONICA’s abdominal pain when it was known
or should have been known that given her five prior Cesarean sections she
was at risk for such a complication; and

d. Failed to timely and appropriately communicate changes in VERONICA’s
medical condition and persistent decelerations and fetal bradycardia in
LONTRELL to the attending physician resulting in the failure to timely
perform a Cesarean section.

24. As a direct and proximate result of one or more of the Defendant, ALLA
BODNER, MD’s, negligent acts or omissions, LONTRELL suffered injuries including, but not
limited to, a poor quality of life, a deterioration of his overall physical, mental and psychosocial
well-being, and a hypoxic ischemic brain injury resulting in multiple medical complications
including, but not limited to, seizures, acute respiratory failure, ventilator dependence, the
placement of a permanent tracheostomy, gastrostomy tube, multiple infections, all of which
necessitated extensive hospitalizations and caused or contributed to causing his death.

25. As a direct and proximate result of one or more of the Defendant, ALLA
BODNER, MD’s, negligent acts or omissions, LONTRELL suffered injuries of a personal and
pecuniary nature, past, and present, including, but not limited to, hospital, medical and related
expenses, disability and disfigurement, pain and suffering and physical and emotional trauma
and a decline in LONTRELL’s level of dignity, self-respect and individuality, and
LONTRELL would have been entitled to receive compensation from Defendant for these
injuries, had he survived Further, LONTRELL’s estate was diminished by virtue of the medical
and hospital expenses incurred

26. Attached to this Complaint as “Exhibit F” is the Affidavit of the Attorney in this
cause filed pursuant to 735 ILCS 5/2-622(a)(1).

27. Attached to this Complaint as “Exhibit J” is the Health Professional’s Report,
filed pursuant to 735 ILCS 5/2-622(a)(1).

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WHEREFORE, the Plaintiff, VERONICA COOK, as Independent Administrator of
the Estate of LONTRELL MONTLEY, Deceased, asks that a judgment be entered against
Defendant, ALLA BODNER, MD, in the amount of FIFTEEN MILLION DOLLARS
($15,000,000).

COUNT VIII
(Cook v Alla Bodner, MD - Wrongf`ul Death Action)

The Plaintiff`, VERONICA COOK, as Independent Administrator of the Estate of
LONTRELL MONTLEY, Deceased, by her attorneys, LEVIN & PERCONTI, complains
against the Defendant, ALLA BODNER, MD, and in support thereof states as follows:

1-10. The Plaintiff re-alleges paragraphs 1 - 10 of this Complaint as and for paragraphs
1 - 10 of this Count VIII.

ll. The Plaintiff, VERONICA COOK, as Independent Administrator of the
Estate of LONTRELL MONTLEY, Deceased, brings this action pursuant to the provisions of
740 ILCS 180/1, et seq. , commonly known the Wrongful Death Act of the State of Illinois.

12-24. The Plaintiff re-alleges paragraphs 12 - 24 of Count VII of this Complaint as and
for paragraphs 12 - 24 of this Count VIII. l

25. LONTRELL left surviving him various person who Were his next of kin
including, but not limited to, the following individuals:

VERONICA COOK;
Tyshawn Cook;
Lonnie Lee Montley;
Lonnell Montley;

LaDarius Montley; and
Lunhyia Montley.

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26. All of LONTRELL’s next of kin suffered injuries as a result of his death,

including the loss of companionship and society and grief, sorrow and mental anguish Further,

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LONTRELL’s estate was diminished by virtue of the medical, hospital and funeral expenses
that were incurred

27. Attached to this Complaint as “Exhibit F” is the Affidavit of the Attorney in this
cause filed pursuant to 735 ILCS 5/2-622(a)(1).

28. Attached to this Complaint as “Exhibit J” is the Health Professional’s Report,
filed pursuant to 735 ILCS 5/2-622(a)(1).

WHEREFORE, the Plaintiff, VERONICA COOK, as Independent Administrator of
the Estate of LONTRELL MONTLEY, Deceased, asks that a judgment be entered against
Defendant, ALLA BODNER, MD, in the amount of TEN MILLION DOLLARS
($10,000,000).

COUNT IX
(Cook v. United States of America _ Survival Action)

The Plaintiff, VERONICA COOK, as Independent Administrator of the Estate of
LONTRELL MONTLEY, Deceased, by her attorneys, LEVIN & PERCONTI, complains
against the Defendant, UNITED STATES OF AMERICA, and in support thereof states as
follows:

1-10. The Plaintiff re-alleges paragraphs 1 - 10 of this Complaint as and for paragraphs
1 - 10 ofthis Count IX.

11. The Plaintiff, VERONICA COOK, as Independent Administrator of the
Estate of LONTRELL MONTLEY, Deceased, brings this action pursuant to the provisions of
755 ILCS 5/27-6 known as the Illinois Survival Statute.

12. The Plaintiff, VERONICA COOK, as Independent Administrator of the
Estate of LONTRELL MONTLEY, Deceased, brings this action pursuant to the Federal Tort

Claims Act, 28 U.S.C. §1346 and §§2671 - 2680.

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13. Pursuant to the Federal Tort Claims Act, 28 U.S.C. §§ 1346(b), 2675(a) and
2401(b), the United States of America by its agent, The United States Department of Health and
Human Services, has failed to make a final disposition of the claim within six months and
Plaintiff hereby deems this a final denial of the claim. (Administrative Claim dated April 2,
2014, filed on April 3, 2014, and a copy of the Certified Mail Receipt dated April 7, 2014
acknowledging receipt of the claim attached hereto and marked as Exhibit E).

14. LONTRELL MONTLEY (“LONTRELL”) was born on March 28, 2011.

15. LONTRELL died on September 28, 2012.

16. VERONICA COOK (“VERONICA”) is the mother of LONTRELL,

Deceased.

12. At all times relevant to this Complaint, Leo Boler, MD, was an actual, implied
and/or apparent agent, servant and employee of Access Community Health Network, an Illinois
Not-For-Profit Corporation d/b/a Access Madison Family Health Center.

13. Access Community Health Network, an Illinois Not-For-Profit Corporation d/b/a
Access Madison Farnily Health Center is a private entity that receives grant money from the
Public Health Ser'vice pursuant to 42 U.S.C. § 233.

14. At all times relevant to this Complaint, Leo Boler, MD, was acting within the
scope of his employment with Defendant, Access Community Health Network, and as such, the
Defendant, UNITED STATES OF AMERICA, is vicariously liable for his negligent conduct.

15. Prior and subsequent to March 28, 2011, and at all times relevant herein, the
Defendant, UNITED STATES OF AMERICA, by its duly authorized agents, Leo Boler, MD,
and Access Community Health Network, an Illinois Not-For-Profit Corporation d/b/a Access

Madison Family Health Center, engaged in the business of offering medical services

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16. Prior and subsequent to March 28, 2011, and at all times relevant herein, the
Defendant, UNITED STATES OF AMERICA, through its duly authorized agents, Leo Boler,
MD, and Access Community Health Network, an Illinois Not-For-Profit Corporation d/b/a
Access Madison Family Health Center, held itself out to the public, and, in particular to
VERONICA, as possessing the requisite professional skill, expertise, knowledge, facilities,
personnel and information to provide appropriate medical services required by a patient, and in
particular, to VERONICA.

17. At all times relevant to this Complaint, Leo Boler, MD, was a physician, duly
licensed by the State of Illinois to practice medicine in all of its branches.

18. On and before March 28, 2011, VERONICA came under the care of Leo Boler,
MD, for prenatal care and the labor and delivery of her son, LONTRELL.

19. On or about March 28, 2011, VERONICA was admitted to Mount Sinai Hospital
Medical Center of Chicago with a medical history including, but not limited to, five previous
Cesarean sections.

20. At all times relevant to this Complaint, VERONICA entrusted the course of her
prenatal and labor and delivery to Leo Boler, MD.

21. At all times relevant to this Complaint, VERONICA did not have the medical
knowledge or expertise to determine the course of care and treatment of her labor and delivery.

22. At all times relevant to this Complaint, it was the duty of the Defendant,
UNITED STATES OF AMERICA, through its actual, implied and/or apparent agents, servant
and employees, including physicians and other healthcare professionals including, Access
Community Health Network, an Illinois Not-For-Profit Corporation d/b/a Access Madison
Family Health Center and Leo Boler, MD, to possess and apply the knowledge and use the skill

and care ordinarily used by reasonably careful physicians and other healthcare professionals in

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the examination, diagnosis, care and treatment of VERONICA and LONTRELL,

23. The Defendant, UNITED STATES OF AMERICA, through its actual, implied
and/or apparent agent, servant and employee, Leo Boler, MD, failed to possess and apply the
knowledge and use the skill and care ordinarily used by a reasonably careful physician in his
care, treatment, and supervision of VERONICA and LONTRELL, by one or more of the
following negligent acts or omissions:

a. Failed to appropriately instruct and communicate VERONICA’s condition
to the resident physicians on March 28, 201 l;

b. Failed to appropriately and timely recognize signs and symptoms of a
uterine rupture in VERONICA; and

c. Failed to consider a uterine rupture as the source of VERONICA’s
abdominal pain When it was known or should have been known that given
her five prior Cesarean sections she was at risk for such a complication

24. As a direct and proximate result of one or more of the Defendant, UNITED
STATES OF AMERICA’s, negligent acts or omissions, LONTRELL suffered injuries
including, but not limited to, a poor quality of life, a deterioration of his overall physical, mental
and psychosocial well-being, and a hypoxic ischemic brain injury resulting in multiple medical
complications including, but not limited to, seizures, acute respiratory failure, ventilator
dependence, the placement of a permanent tracheostomy, gastrostomy tube, multiple infections,
all of which necessitated extensive hospitalizations and caused or contributed to causing his
death.

25. As a direct and proximate result of one or more of the Defendant, UNITED
STATES OF AMERICA’s, negligent acts or omissions, LONTRELL suffered injuries of a
personal and pecuniary nature, past, and present, including, but not limited to, hospital, medical
and related expenses, disability and disfigurement, pain and suffering and physical and emotional

trauma and a decline in LONTRELL’s level of dignity, self-respect and individuality, and

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LONTRELL would have been entitled to receive compensation from Defendant for these
injuries, had he survived Further, LONTRELL’s estate was diminished by virtue of the
medical and hospital expenses incurred

26. Attached to this Complaint as “Exhibit F” is the Affidavit of the Attorney in this
cause filed pursuant to 735 ILCS 5/2-622(a)(1).

27. Attached to this Complaint as “Exhibit K” is the Health Professional’s Report,
filed pursuant to 735 ILCS 5/2-622(a)(1).

WHEREFORE, the Plaintiff, VERONICA COOK, as Independent Administrator of
the Estate of LONTRELL MONTLEY, Deceased, asks that a judgment be entered against
Defendant, UNITED STATES OF AMERICA, in the amount of FIFTEEN MILLION
DOLLARS ($15,000,000).

COUNT X
(Cook v. United States of America - Wrongf`ul Death Action)

The Plaintiff, VERONICA COOK, as Independent Administrator of the Estate of
LONTRELL MONTLEY, Deceased, by her attomeys, LEVIN & PERCONTI, complains
against the Defendant, UNITED STATES OF AMERICA, and in support thereof states as
follows:

1-10. The Plaintiff re-alleges paragraphs 1 - 10 of this Complaint as and for paragraphs
1 - 10 of this Count X.

11. The Plaintiff, VERONICA COOK, as Independent Administrator of the
Estate of LONTRELL MONTLEY, Deceased, brings this action pursuant to the provisions of
740 ILCS 180/1, et seq., commonly known the Wrongful Death Act of the State of Illinois.

12-24. The Plaintiff re-alleges paragraphs 12 - 24 of Count IX of this Complaint as and

for paragraphs 12 - 24 of this Count X.

27

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25. LONTRELL left surviving him various person who Were his next of kin
including, but not limited to, the following individuals:

VERONICA COOK;
Tyshawn Cook;
Lonnie Lee Montley;
Lonnell Montley;
LaDarius Montley; and
Lunhyia Montley.

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26. All of LONTRELL’s next of kin suffered injuries as a result of his death,
including the loss of companionship and society and grief, sorrow and mental anguish Further,
LONTRELL’s estate was diminished by virtue of the medical, hospital and funeral expenses
that were incurred

27. Attached to this Complaint as “Exhibit F” is the Affidavit of the Attorney in this
cause filed pursuant to 735 ILCS 5/2-622(a)(1).

28, Attached to this Complaint as “Exhibit K” is the Health Professional’s Report,
filed pursuant to 735 ILCS 5/2~622(a)(l).

WHEREFORE, the Plaintiff, VERONICA COOK, as Independent Administrator of
the Estate of LONTRELL MONTLEY, Deceased, asks that a judgment be entered against
Defendant, UNITED STATES OF AMERICA, in the amount of TEN MILLION DOLLARS
($10,000,000).

Respectfully submitted,
LEV & ERCONTI

   

BY:

 

Atto eys for Plaintiff
JOHN J. PERCONTI

MICHAEL F. BONAMARATE
CARI F. SILVERMAN

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